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ADDENDUM I

Specific Disclosure Statement Relating to First Amended Joint Plan of Reorganization for
Tribune Company and Its Subsidiaries Proposed by the Debtors, the Official Committee of
Unsecured Creditors, Oaktree Capital Management, L.P., Angelo, Gordon, & Co., L.P.,
and JPMorgan Chase Bank, N.A.

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ADDENDUM I

Specific Disclosure Statement for the Joint Plan of Reorganization for Tribune Company and Its
Subsidiaries Proposed by Aurelius Capital Management, LP, on Behalf of Its managed Entities, Deutsche
Bank Trust Company Americas, in Its Capacity as Successor Indenture Trustee for Certain Series of
Senior Notes, Law Debenture Trust Company of New York, in Its Capacity as Successor Indenture
Trustee for Certain Series of Senior Notes and Wilmington Trust Company, in Its Capacity as Successor
Indenture Trustee for the PHONES Notes

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ADDENDUM III

Specific Disclosure Statement for Joint Plan of Reorganization for Tribune Company
and Its Subsidiaries Proposed by King Street Acquisition Company, L.L.C.,
King Street Capital, L.P. and Marathon Asset Management, L.P.

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ADDENDUM IV

Specific Disclosure Statement for Plan of Reorganization for Tribune Company and Its Subsidiaries
Proposed by Certain Holders of Step One Senior Loan Claims

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